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 1   DANIEL J. BRODERICK, #89424
     Federal Defender
 2   CARO MARKS, Bar #159267
     Senior Litigator
 3   Designated Counsel for Service
     801 I Street, 3rd Floor
 4   Sacramento, California 95814
     Telephone: (916) 498-5700
 5
     Attorney for Defendant
 6   BRANDON COLEMAN
 7
 8                      IN THE UNITED STATES DISTRICT COURT
 9                    FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,       )     No. CR-S-08-306 EJG
                                     )
12                  Plaintiff,       )
                                     )     STIPULATION AND ORDER TO CONTINUE
13        v.                         )     STATUS CONFERENCE
                                     )
14   BRANDON COLEMAN,                )
                                     )     Date:    August 29, 2008
15                  Defendant.       )
                                     )     Time: 10:00 a.m.
16   _______________________________ )     Judge: Hon. Edward J. Garcia
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18
           It is hereby stipulated between the parties, Michael Beckwith,
19
     Assistant United States Attorney, and Caro Marks, attorney for
20
     defendant Brandon Coleman, as follows:
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          The Status Conference date of August 15, 2008 should be continued
22
     until August 29, 2008.      The defense needs additional time to complete
23
     its review of discovery. In addition, the defendant is pursuing a
24
     resolution of his case pursuant to Chapter Five of the federal
25
     sentencing guidelines, and the parties need time to meet in furtherance
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     of that goal. A meeting is already scheduled for the end of August,
27
     2008. The parties agree on a continuance to allow the debriefing and to
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 1   give the government time to develop any leads resulting from the
 2   debriefing.
 3         IT IS STIPULATED that the period from the signing of this Order up
 4   to and including August 29, 2008 be excluded in computing the time
 5   within which trial must commence under the Speedy Trial Act, pursuant
 6   to   18 U.S.C. § 3161(h)(8)(B)(iv) and Local Code T4, for ongoing
 7   preparation of counsel.
 8
 9   Dated: August 13, 2008                   Respectfully submitted,
10                                             DANIEL BRODERICK
                                               Federal Defender
11
                                               /s/ Caro Marks
12                                              ________________________
                                               CARO MARKS
13                                             Assistant Federal Defender
                                               Attorney for Defendant
14                                             BRANDON COLEMAN
15
16   Dated:     August 13, 2008                MCGREGOR SCOTT
                                               United States Attorney
17
18                                              /s/ Michael Beckwith
                                               _________________________
19                                             MICHAEL BECKWITH
                                               Assistant U.S. Attorney
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21
22                                           ORDER
23             UPON GOOD CAUSE SHOWN and the stipulation of all parties, it is
24   ordered that the status conference presently set for August 15, 2008,
25   be continued to August 29, 2008, at 10:00 a.m.            Based on the
26   representation of defense counsel and good cause appearing therefrom,
27   the Court hereby finds that the failure to grant a continuance in this
28   case would deny defense counsel reasonable time necessary for effective


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 1   preparation, taking into account the exercise of due diligence.          The
 2   Court finds that the ends of justice to be served by granting a
 3   continuance outweigh the best interests of the public and the defendant
 4   in a speedy trial.       It is ordered that time from this date to, and
 5   including, the August 29, 2008 status conference shall be excluded from
 6   computation of time within which the trial of this matter must be
 7   commenced under the Speedy Trial Act pursuant to 18 U.S.C. §
 8   3161(h)(8)(A) and (B)(iv) and Local Code T-4, to allow defense counsel
 9   time to prepare.
10   Dated:     August 14, 2008
11
                                               /s/ Edward J. Garcia
12                                             EDWARD J. GARCIA
                                               Senior United States District Judge
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